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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

 IVETTE M. MARTINEZ GONZALEZ
 Plaintiffs

 v.
 CATHOLIC SCHOOL
 Defendants
                                                        Case Civil No. 16-2077
 Consolidated with:

 NORMA CARDOZA ESTREMERA and
 CANDIDA PEREZ ROBLES, on their behalf
 and on behalf of all the participants of the
 Pension Plan for the Employees of the Catholic
 School of the Archdiocese of San Juan
                                                       Case Civil No. 16-2318
 Plaintiffs
                                                       COMPLAINT:
 v.                                                    ERISA § 502
  COLEGIO PADRE BERRIOS, ACADEMIA                      Treas. Reg. § 1.401(a)-50
  SAN JOSE, PENSION PLAN FOR CATHOLIC                  Tittle II of ERISA
  SCHOOL OF THE ARCHDIOCESE OF SAN                     IRC 501(a), 414(e), 410(d)
  JUAN, BOARD OF TRUSTEES, et. Al.                     US Common law
                                                       PRIRC 2011
 Defendants



        MOTION FOR EXTENTION OF TIME TO FILE DECLARATIONS
        AND FOR LEAVE TO FILE DOCUMENTS IN THE SPANISH

       TO THE HONORABLE COURT:

       COMED NOW Plaintiffs, through the undersigned attorney and respectfully allege and

pray as follow:

       1. In this same date, the appearing party is filing a motion requesting that a partial

summary judgment be rendered on its behalf grounded on the ERISA application to this case.




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       2. Some of the documents, in which the appearing plaintiffs are sustaining their motion

are in Spanish; the Summary Plan Descriptions for the Plan dated 1979 and 1993 and the

certification of Mrs. Candida Perez’s salaries while employed with Defendant Colegio Padre

Berrios prepared by the Archdiocese.


       3. The appearing party respectfully request from this Honorable Court leave to file three

(3) exhibits attached to the motion in the Spanish language, until a certified translation is

obtained and filed within a reasonable period to be granted by the Court, not less than 90 days,

until March 20, 2018.

       3. Also to grant Plaintiffs ten (10) days to submit the declaration of Plaintiffs; as Exhibit

7 and 8 to the Motion for Partial Summary Judgment.

       IN WITNESS WHEREOF, the appearing plaintiffs respectfully request that this motion

be granted.

       RESPECTFULLY SUBMITTED.

       HEREBY CERTIFY that on this same date we electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all parties by
operation of the Court’s electronic filing system.
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       In San Juan, Puerto Rico, this 20th day of December , 2017.


                                                      s/Luis Vivaldi Oliver
                                                      Luis Vivaldi Oliver
                                                      U.S.D.C.P.R. 214413
                                                      Attorney for Plaintiff
                                                      LAW OFFICES OF
                                                      LUIS VIVALDI OLIVER
                                                      P.O. Box 191340
                                                      San Juan, P.R. 00919
                                                      Tel. (787) 413-2218
                                                      vivaldipension@hotmail.com



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